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     PH.D.
 6

 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                            FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   ON BEHALF OF ESTATE OF WILLIAM )                     Case No.: 2:20-cv-000195-DAD-CKD
     SCHMITZ, DECEASED, BY AND      )
12   THROUGH THOMAS J. SCHMITZ AND  )                     FIRST AMENDED ANSWER TO FOURTH
     DIANNE MALLIA, AS SUCCESSORS IN)                     AMENDED COMPLAINT AND DEMAND
13   INTEREST; THOMAS SCHMITZ,      )                     FOR JURY
                                    )
     INDIVIDUALLY; AND DIANNE MALLIA,
14   INDIVIDUALLY,                  )
                                    )
15               Plaintiffs,        )
                                    )
16               vs.                )
                                    )
17   CALIFORNIA DEPARTMENT OF       )
     CORRECTIONS AND REHABILITATION )
18   (CDCR), ET AL.                 )
                                    )
19               Defendants.        )
                                    )
20

21             In answer to Plaintiffs’ Fourth Amended Complaint (ECF No. 173), Defendant STEPHEN

22   DENIGRIS, M.D., PH.D. (hereinafter “Defendant”) admits, denies, and alleges as follows:

23             In response to paragraph 1, Defendant admits that this Court has jurisdiction over Plaintiffs’

24   claims.

25   ///
                                                         1
                   FIRST AMENDED ANSWER TO FOURTH AMENDED COMPLAINT AND DEMAND FOR JURY
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 1          In response to paragraph 2, Defendant admits that this Court is the proper venue.

 2          In response to paragraph 3, Defendant denies that William Schmitz’s death was untimely or

 3   avoidable. Defendant admits the remaining allegations in paragraph 3.

 4          In response to paragraph 4, Defendant lacks sufficient information to admit or deny the

 5   allegations, and on that basis, Defendant denies the allegations.

 6          In response to paragraph 5, Defendant lacks sufficient information to admit or deny the

 7   allegations, and on that basis, Defendant denies the allegations.

 8          in response to paragraph 6, Defendant denies the allegations.

 9          In response to paragraph 7, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11          In response to paragraph 8, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13          In response to paragraph 9, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15          In response to footnote 1, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17          In response to paragraph 10, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19          In response to paragraph 11, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis Defendant denies the allegations.

21          In response to paragraph 12, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis Defendant denies the allegations.

23          In response to paragraph 13, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis Defendant denies the allegations.

25   ///
                                                        2
                 FIRST AMENDED ANSWER TO FOURTH AMENDED COMPLAINT AND DEMAND FOR JURY
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 1          In response to paragraph 14, Defendant denies the allegation that “William was subjected to

 2   unnecessary and fraudulent medical procedures.” Defendant lacks sufficient information to admit or

 3   deny the remaining allegations in paragraph 14, and on that basis, Defendant denies the allegations.

 4          In response to paragraph 15, Defendant lacks sufficient information to admit or deny the

 5   allegations, and on that basis, Defendant denies the allegations.

 6          In response to paragraph 16, Defendant admits the allegations.

 7          In response to paragraph 17, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9          In response to paragraph 18, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11          In response to paragraph 19, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13          In response to paragraph 20, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15          In response to paragraph 21, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17          In response to paragraph 22, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19          In response to paragraph 23, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21          In response to paragraph 24, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23          In response to paragraph 25, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

25   ///
                                                        3
                 FIRST AMENDED ANSWER TO FOURTH AMENDED COMPLAINT AND DEMAND FOR JURY
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 1          In response to paragraph 26, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3          In response to paragraph 27, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5          In response to paragraph 28, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7          In response to paragraph 29, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9          In response to paragraph 30, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11          In response to paragraph 31, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13          In response to paragraph 32, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15          In response to paragraph 33, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17          In response to paragraph 34, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19          In response to paragraph 35, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21          In response to paragraph 36, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23          In response to paragraph 37, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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                 FIRST AMENDED ANSWER TO FOURTH AMENDED COMPLAINT AND DEMAND FOR JURY
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 1          In response to paragraph 38, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3          In response to paragraph 39, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5          In response to paragraph 40, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7          In response to paragraph 41, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9          In response to paragraph 42, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11          In response to paragraph 43, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13          In response to paragraph 44, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15          In response to paragraph 45, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17          In response to paragraph 46, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19          In response to paragraph 47, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21          In response to paragraph 48, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23          In response to paragraph 49, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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                 FIRST AMENDED ANSWER TO FOURTH AMENDED COMPLAINT AND DEMAND FOR JURY
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 1          In response to paragraph 50, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3          In response to paragraph 51, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5          In response to paragraph 52, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7          In response to paragraph 53, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9          In response to paragraph 54, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11          In response to paragraph 55, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13          In response to paragraph 56, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15          In response to paragraph 57, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17          In response to paragraph 58, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19          In response to paragraph 59, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21          In response to paragraph 60, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23          In response to paragraph 61, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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                 FIRST AMENDED ANSWER TO FOURTH AMENDED COMPLAINT AND DEMAND FOR JURY
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 1          In response to paragraph 62, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3          In response to paragraph 63, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5          In response to paragraph 64, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7          In response to paragraph 65, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9          In response to paragraph 66, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11          In response to paragraph 67, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13          In response to paragraph 68, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15          In response to paragraph 69, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17          In response to paragraph 70, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19          In response to paragraph 71, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21          In response to paragraph 72, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23          In response to paragraph 73, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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                 FIRST AMENDED ANSWER TO FOURTH AMENDED COMPLAINT AND DEMAND FOR JURY
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 1          In response to paragraph 74, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3          In response to paragraph 75, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5          In response to paragraph 76, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7          In response to paragraph 77, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9          In response to paragraph 78, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11          In response to paragraph 79, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13          In response to paragraph 80, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15          In response to paragraph 81, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17          In response to paragraph 82, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19          In response to paragraph 83, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21          In response to paragraph 84, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23          In response to paragraph 85, Defendant admits he was “acting under color of state law” and

24   “sued in his individual capacity.” Defendant lacks sufficient information to admit or deny the

25   remaining allegations in paragraph 85, and on that basis, Defendant denies the allegations.
                                                        8
                 FIRST AMENDED ANSWER TO FOURTH AMENDED COMPLAINT AND DEMAND FOR JURY
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 1          In response to paragraph 86, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3          In response to paragraph 87, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5          In response to paragraph 88, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7          In response to paragraph 89, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9          In response to paragraph 90 and footnote 2, Defendant lacks sufficient information to admit

10   or deny the allegations, and on that basis, Defendant denies the allegations.

11          In response to paragraph 91, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13          In response to paragraph 92, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15          In response to paragraph 93, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17          In response to paragraph 94 and footnote 3, Defendant lacks sufficient information to admit

18   or deny the allegations, and on that basis, Defendant denies the allegations.

19          In response to paragraph 95, Defendant denies the allegations.

20          In response to paragraph 96, Defendant lacks sufficient information to admit or deny the

21   allegations, and on that basis, Defendant denies the allegations.

22          In response to paragraph 97, Defendant lacks sufficient information to admit or deny the

23   allegations, and on that basis, Defendant denies the allegations.

24          In response to paragraph 98, Defendant lacks sufficient information to admit or deny the

25   allegations, and on that basis, Defendant denies the allegations.
                                                        9
                 FIRST AMENDED ANSWER TO FOURTH AMENDED COMPLAINT AND DEMAND FOR JURY
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 1          In response to paragraph 99, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3          In response to paragraph 100, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5          In response to paragraph 101, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7          In response to paragraph 102, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9          In response to paragraph 103, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11          In response to paragraph 104, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13          In response to paragraph 105, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15          In response to paragraph 106, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17          In response to paragraph 107, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19          In response to paragraph 108, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21          In response to paragraph 109, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23          In response to paragraph 110, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

25          In response to paragraph 111, Defendant admits the allegations.
                                                       10
                 FIRST AMENDED ANSWER TO FOURTH AMENDED COMPLAINT AND DEMAND FOR JURY
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 1           In response to footnote 4, Defendant admits that Defendant Dr. Kuich’s deposition is

 2   included as an attachment to the Fourth Amended Complaint, but Defendant lacks sufficient

 3   information to admit or deny the remaining allegations in footnote 4, and on that basis, Defendant

 4   denies the allegations.

 5           In response to paragraph 112, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 113, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 114, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 115, Defendant admits the lawsuits were filed about mental health

12   programs and that courts issued various decisions and orders. The decisions and orders speak for

13   themselves. Defendant lacks sufficient information to admit or deny the remaining allegations in

14   paragraph 115, and on that basis, Defendant denies the allegations.

15           In response to footnote 5, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 116, Defendant admits the lawsuits were filed about mental health

18   programs and that courts issued various decisions and orders. The decisions and orders speak for

19   themselves. Defendant lacks sufficient information to admit or deny the remaining allegations in

20   paragraph 116, and on that basis, Defendant denies the allegations.

21           In response to paragraph 117, Defendant admits the lawsuits were filed about mental health

22   programs and that courts issued various decisions and orders. The decisions and orders speak for

23   themselves. Defendant lacks sufficient information to admit or deny the remaining allegations in

24   paragraph 117, and on that basis, Defendant denies the allegations.

25   ///
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                 FIRST AMENDED ANSWER TO FOURTH AMENDED COMPLAINT AND DEMAND FOR JURY
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 1           In response to paragraph 118, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 119, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 120, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 121, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 122, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 123, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 124, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 125, Defendant admits the allegations.

16           In response to paragraph 126, Defendant admits the allegations.

17           In response to paragraph 127, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 128, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 129, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 130, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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                 FIRST AMENDED ANSWER TO FOURTH AMENDED COMPLAINT AND DEMAND FOR JURY
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 1           In response to paragraph 131, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 132, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 133, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 134, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 135, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 136, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 137, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 138, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 139, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 140, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 141, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 142, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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                                                       13
                 FIRST AMENDED ANSWER TO FOURTH AMENDED COMPLAINT AND DEMAND FOR JURY
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 1           In response to paragraph 143, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 144, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 145, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 146, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 147, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 148, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 149, Defendant admits the allegations.

14           In response to paragraph 150, Defendant admits the allegations.

15           In response to paragraph 151 and footnote 6, Defendant lacks sufficient information to admit

16   or deny the allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 152, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 153, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 154, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 155, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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                                                       14
                 FIRST AMENDED ANSWER TO FOURTH AMENDED COMPLAINT AND DEMAND FOR JURY
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 1          In response to paragraph 156, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3          In response to paragraph 157, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5          In response to footnote 7, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7          In response to paragraph 158, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9          In response to paragraph 159, Defendant admits the allegations.

10          In response to paragraph 160, Defendant lacks sufficient information to admit or deny the

11   allegations, and on that basis, Defendant denies the allegations.

12          In response to paragraph 161, Defendant admits the allegations.

13          In response to paragraph 162, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15          In response to paragraph 163, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17          In response to paragraph 164, Defendant admits that the block quote is taken from the

18   Declaration of CDCR’s Chief Psychiatrist. Defendant lacks sufficient information to admit or deny

19   the remaining allegations in paragraph 164, and on that basis, Defendant denies the allegations.

20          In response to paragraph 165, Defendant lacks sufficient information to admit or deny the

21   allegations, and on that basis, Defendant denies the allegations.

22          In response to paragraph 166, Defendant lacks sufficient information to admit or deny the

23   allegations, and on that basis, Defendant denies the allegations.

24          In response to paragraph 167, Defendant lacks sufficient information to admit or deny the

25   allegations, and on that basis, Defendant denies the allegations.
                                                       15
                 FIRST AMENDED ANSWER TO FOURTH AMENDED COMPLAINT AND DEMAND FOR JURY
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 1           In response to paragraph 168, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 169, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 170, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 171, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 172, Defendant admits Amador County Civil Grand Jury issued a

10   report about MCSP. The report speaks for itself. Defendant lacks sufficient information to admit or

11   deny the remaining allegations in paragraph 172, and on that basis, Defendant denies the

12   allegations.

13           In response to paragraph 173, Defendant admits that the allegations were taken from the

14   2018-2019 ACCGJ report, except, Defendant asserts that the word “exist” was in the report not

15   “persist.”

16           In response to paragraph 174, Defendant lacks sufficient information to admit or deny the

17   allegations, and on that basis, Defendant denies the allegations.

18           In response to paragraph 175, Defendant lacks sufficient information to admit or deny the

19   allegations, and on that basis, Defendant denies the allegations.

20           In response to paragraph 176, Defendant admits Amador County Civil Grand Jury issued a

21   report about MCSP. The report speaks for itself. Defendant lacks sufficient information to admit or

22   deny the remaining allegations in paragraph 176, and on that basis, Defendant denies the

23   allegations.

24           In response to paragraph 177, Defendant admits Amador County Civil Grand Jury issued a

25   report about MCSP. The report speaks for itself. Defendant lacks sufficient information to admit or
                                                       16
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 1   deny the remaining allegations in paragraph 117, and on that basis, Defendant denies the

 2   allegations.

 3           In response to paragraph 178, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 179, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 180, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 181, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 182, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 183, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 184, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 185, Defendant admits that “the OIG, in case number XX-XXXXXXX-

18   DM sustained an allegation that ‘On August 14, 2014 the warden allegedly engaged in secondary

19   employment without the department’s prior approval and in a manner that prevented him from

20   performing his job[’].” Defendant denies the remaining allegations in paragraph 185.

21           In response to paragraph 186, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 187, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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                                                       17
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 1           In response to paragraph 188, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 189, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 190, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 191, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 192, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 193, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 194, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 195, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 196, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 197, Defendant admits that the sentence quoted was stated by the

20   Coleman court.

21           In response to paragraph 198, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 199, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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                                                       18
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 1           In response to paragraph 200, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 201, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 202, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 203, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 204, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 205, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 206, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 207, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 208, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 209, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 210, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 211, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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                                                       19
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 1           In response to paragraph 212, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 213, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 214, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 215, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 216, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 217, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 218, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 219, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 220, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 221, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 222, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 223, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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                                                       20
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 1           In response to paragraph 224, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 225, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 226, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 227, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 228, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 229, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 230, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 231, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 232, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 233, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 234, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 235, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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                                                       21
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 1           In response to footnote 8, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 236, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 237, Defendant admits that the paragraph is taken from Judge

 6   Mueller’s Order.

 7           In response to paragraph 238, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 239, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 240, Defendant admits the allegations.

12           In response to paragraph 241, Defendant lacks sufficient information to admit or deny the

13   allegations, and on that basis, Defendant denies the allegations.

14           In response to paragraph 242, Defendant lacks sufficient information to admit or deny the

15   allegations, and on that basis, Defendant denies the allegations.

16           In response to paragraph 243, Defendant lacks sufficient information to admit or deny the

17   allegations, and on that basis, Defendant denies the allegations.

18           In response to paragraph 244, Defendant lacks sufficient information to admit or deny the

19   allegations, and on that basis, Defendant denies the allegations.

20           In response to paragraph 245, Defendant lacks sufficient information to admit or deny the

21   allegations, and on that basis, Defendant denies the allegations.

22           In response to paragraph 246, Defendant lacks sufficient information to admit or deny the

23   allegations, and on that basis, Defendant denies the allegations.

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                                                       22
                 FIRST AMENDED ANSWER TO FOURTH AMENDED COMPLAINT AND DEMAND FOR JURY
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 1          In response to footnote 9, Defendant admits Judge Mueller found that Defendant Leidner

 2   distinguished himself from the witnesses, other than Dr. Golding, as exhibiting a conscience during

 3   his testimony. Defendant denies the remaining allegations in footnote 9.

 4          In response to paragraph 247, Defendant lacks sufficient information to admit or deny the

 5   allegations, and on that basis, Defendant denies the allegations.

 6          In response to paragraph 248, Defendant lacks sufficient information to admit or deny the

 7   allegations, and on that basis, Defendant denies the allegations.

 8          In response to paragraph 249, Defendant lacks sufficient information to admit or deny the

 9   allegations, and on that basis, Defendant denies the allegations.

10          In response to paragraph 250, Defendant lacks sufficient information to admit or deny the

11   allegations, and on that basis, Defendant denies the allegations.

12          In response to paragraph 251, Defendant lacks sufficient information to admit or deny the

13   allegations, and on that basis, Defendant denies the allegations.

14          In response to paragraph 252, Defendant lacks sufficient information to admit or deny the

15   allegations, and on that basis, Defendant denies the allegations.

16          In response to footnote 10, Defendant denies Judge Mueller’s Order stated, “Discovery may

17   reveal if this conspiracy starts above Deputy Director Tebrock in the Governor’s Office.” Defendant

18   lacks sufficient information to admit or deny the allegations in footnote 10, and on that basis,

19   Defendant denies the allegations.

20          In response to paragraph 253, Defendant lacks sufficient information to admit or deny the

21   allegations, and on that basis, Defendant denies the allegations.

22          In response to paragraph 254, Defendant lacks sufficient information to admit or deny the

23   allegations, and on that basis, Defendant denies the allegations.

24          In response to footnote 11, Defendant lacks sufficient information to admit or deny the

25   allegations, and on that basis, Defendant denies the allegations.
                                                       23
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 1          In response to paragraph 255, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3          In response to paragraph 256, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5          In response to paragraph 257, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7          In response to paragraph 258, Defendant admits the allegations.

 8          In response to paragraph 259, Defendant lacks sufficient information to admit or deny the

 9   allegations, and on that basis, Defendant denies the allegations.

10          In response to paragraph 260, Defendant admits the lawsuits were filed about mental health

11   programs and that courts issued various decisions and orders. The decisions and orders speak for

12   themselves. Defendant lacks sufficient information to admit or deny the remaining allegations in

13   paragraph 260, and on that basis, Defendant denies the allegations.

14          In response to paragraph 261, Defendant lacks sufficient information to admit or deny the

15   allegations, and on that basis, Defendant denies the allegations.

16          In response to paragraph 262, Defendant lacks sufficient information to admit or deny the

17   allegations, and on that basis, Defendant denies the allegations.

18          In response to footnote 12, Defendant lacks sufficient information to admit or deny the

19   allegations, and on that basis, Defendant denies the allegations.

20          In response to paragraph 263, Defendant lacks sufficient information to admit or deny the

21   allegations, and on that basis, Defendant denies the allegations.

22          In response to paragraph 264, Defendant lacks sufficient information to admit or deny the

23   allegations, and on that basis, Defendant denies the allegations.

24          In response to footnote 13, Defendant lacks sufficient information to admit or deny the

25   allegations, and on that basis, Defendant denies the allegations.
                                                       24
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 1           In response to paragraph 265, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 266, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 267, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to footnote 14, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 268, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to footnote 15, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 269, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 270, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 271, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 272, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 273, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 274, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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 1          In response to paragraph 275, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3          In response to footnote 16, Defendant admits the allegations.

 4          In response to paragraph 276, Defendant lacks sufficient information to admit or deny the

 5   allegations, and on that basis, Defendant denies the allegations.

 6          In response to paragraph 277, Defendant lacks sufficient information to admit or deny the

 7   allegations, and on that basis, Defendant denies the allegations.

 8          In response to paragraph 278, Defendant lacks sufficient information to admit or deny the

 9   allegations, and on that basis, Defendant denies the allegations.

10          In response to paragraph 279, Defendant lacks sufficient information to admit or deny the

11   allegations, and on that basis, Defendant denies the allegations.

12          In response to paragraph 280, Defendant lacks sufficient information to admit or deny the

13   allegations, and on that basis, Defendant denies the allegations.

14          In response to paragraph 281, Defendant lacks sufficient information to admit or deny the

15   allegations, and on that basis, Defendant denies the allegations.

16          In response to paragraph 282, Defendant lacks sufficient information to admit or deny the

17   allegations, and on that basis, Defendant denies the allegations.

18          In response to paragraph 283, Defendant lacks sufficient information to admit or deny the

19   allegations, and on that basis, Defendant denies the allegations.

20          In response to paragraph 284, Defendant lacks sufficient information to admit or deny the

21   allegations, and on that basis, Defendant denies the allegations.

22          In response to paragraph 285, Defendant lacks sufficient information to admit or deny the

23   allegations, and on that basis, Defendant denies the allegations.

24          In response to paragraph 286, Defendant lacks sufficient information to admit or deny the

25   allegations, and on that basis, Defendant denies the allegations.
                                                       26
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 1           In response to paragraph 287, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 288, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 289, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to footnote 17, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 290, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 291, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 292, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 293, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 294, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 295, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 296, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 297, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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                                                       27
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 1           In response to paragraph 298, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 299, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 300, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 301, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 302, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to footnote 18, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 303, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 304, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 305, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 306, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 307, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 308, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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                                                       28
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 1           In response to footnote 19, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 309, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to footnote 20, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to footnote 21, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 310, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 311, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 312, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 313, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 314, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 315, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 316, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 317 Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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                                                       29
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 1           In response to paragraph 318, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 319, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 320, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 321, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 322, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 323, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 324, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 325, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 326, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 327, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 328, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 329, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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                                                       30
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 1           In response to paragraph 330, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 331, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 332, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 333, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 334, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 335, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 336, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 337, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to footnote 22, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 338, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 339, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 340, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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 1           In response to paragraph 341, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 342, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 343, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 344, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 345, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 346, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 347, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 348, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 349, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 350, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 351, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 352, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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                                                       32
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 1           In response to paragraph 353, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 354, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 355, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 356, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 357, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 358, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 359, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 360, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 361, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 362, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 363, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 364, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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 1          In response to paragraph 365, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3          In response to paragraph 366, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5          In response to paragraph 367, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7          In response to paragraph 368, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9          In response to paragraph 369, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations. 28

11          In response to paragraph 370, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13          In response to paragraph 371, Defendant admits the allegations.

14          In response to paragraph 372, Defendant lacks sufficient information to admit or deny the

15   allegations, and on that basis, Defendant denies the allegations.

16          In response to paragraph 373, Defendant lacks sufficient information to admit or deny the

17   allegations, and on that basis, Defendant denies the allegations.

18          In response to paragraph 374, Defendant lacks sufficient information to admit or deny the

19   allegations, and on that basis, Defendant denies the allegations.

20          In response to paragraph 375, Defendant lacks sufficient information to admit or deny the

21   allegations, and on that basis, Defendant denies the allegations.

22          In response to paragraph 376, Defendant lacks sufficient information to admit or deny the

23   allegations, and on that basis, Defendant denies the allegations.

24          In response to paragraph 377, Defendant lacks sufficient information to admit or deny the

25   allegations, and on that basis, Defendant denies the allegations.
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 1           In response to paragraph 378, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 379, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 380, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 381, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 382, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 383, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 384, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 385, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 386, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 387, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 388, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 389, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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 1           In response to paragraph 390, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 391, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 392, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 393, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 394, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 395, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 396, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 397, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 398, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 399, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 400, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 401, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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 1           In response to paragraph 402, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 403, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 404, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 405, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 406, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 407, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 408, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 409, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 410, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 411, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 412, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 413, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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 1           In response to paragraph 414, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 415, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 416, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 417, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 418, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 419, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 420, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 421, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 422, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 423, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 424, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 425, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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 1           In response to paragraph 426, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 427, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 428, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 429, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 430, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 431, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 432, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 433, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 434, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 435, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 436, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 437, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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 1           In response to paragraph 438, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 439, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 440, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 441, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 442, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 443, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 444, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 445, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 446, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 447, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 448, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 449, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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                                                       40
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 1          In response to paragraph 450, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3          In response to paragraph 451, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5          In response to paragraph 452, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7          In response to paragraph 453, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9          In response to paragraph 454, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11          In response to paragraph 455, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13          In response to paragraph 456, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15          In response to paragraph 457, Defendant admits that William Schmitz was incarcerated.

16   Defendant lacks sufficient information to admit or deny the remaining allegations in paragraph 457,

17   and on that basis, Defendant denies the allegations.

18          In response to paragraph 458, Defendant lacks sufficient information to admit or deny the

19   allegations, and on that basis, Defendant denies the allegations.

20          In response to paragraph 459, Defendant lacks sufficient information to admit or deny the

21   allegations, and on that basis, Defendant denies the allegations.

22          In response to paragraph 460, Defendant lacks sufficient information to admit or deny the

23   allegations, and on that basis, Defendant denies the allegations.

24          In response to paragraph 461, Defendant lacks sufficient information to admit or deny the

25   allegations, and on that basis, Defendant denies the allegations.
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 1          In response to paragraph 462, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3          In response to paragraph 463, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5          In response to paragraph 464, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7          In response to paragraph 465, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9          In response to paragraph 466, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11          In response to paragraph 467, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13          In response to paragraph 468, Defendant admits that William Schmitz was incarcerated.

14   Defendant lacks sufficient information to admit or deny the remaining allegations in paragraph 468,

15   and on that basis, Defendant denies the allegations.

16          In response to paragraph 469, Defendant lacks sufficient information to admit or deny the

17   allegations, and on that basis, Defendant denies the allegations.

18          In response to paragraph 470, Defendant lacks sufficient information to admit or deny the

19   allegations, and on that basis, Defendant denies the allegations.

20          In response to paragraph 471, Defendant lacks sufficient information to admit or deny the

21   allegations, and on that basis, Defendant denies the allegations.

22          In response to paragraph 472, Defendant lacks sufficient information to admit or deny the

23   allegations, and on that basis, Defendant denies the allegations.

24          In response to paragraph 473, Defendant lacks sufficient information to admit or deny the

25   allegations, and on that basis, Defendant denies the allegations.
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 1          In response to paragraph 474, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3          In response to paragraph 475, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5          In response to paragraph 476, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7          In response to paragraph 477, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9          In response to paragraph 478, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11          In response to paragraph 479, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13          In response to paragraph 480, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15          In response to paragraph 481, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17          In response to paragraph 482, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19          In response to paragraph 483, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21          In response to paragraph 484, Defendant admits that the quoted text is a summary of Dr.

22   Kuich’s deposition testimony, as cited in Judge Mueller’s Order. Defendant denies that the text is

23   from “Dr.” Mueller’s Court.

24          In response to paragraph 485, Defendant lacks sufficient information to admit or deny the

25   allegations, and on that basis, Defendant denies the allegations.
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 1           In response to paragraph 486, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 487, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 488, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 489, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 490, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 491, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 492, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 493, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 494, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 495, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 496, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 497, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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 1           In response to paragraph 498, Defendant admits that the quoted language is from Judge

 2   Mueller’s December 17, 2019 Order.

 3           In response to paragraph 499, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 500, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 501, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 502, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 503, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 504, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 505, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 506, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 507, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 508, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 509, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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 1           In response to paragraph 510, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 511, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 512, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 513, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 514, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 515, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 516, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 517, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 518, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 519, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 520, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 521, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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 1           In response to paragraph 522, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 523, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 524, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 525, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 526, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 527, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 528, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 529, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 530, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 531, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 532, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 533, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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 1           In response to paragraph 534, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 535, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 536, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 537, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 538, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 539, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 540, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 541, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 542, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 543, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 544, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 545, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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 1           In response to paragraph 546, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 547, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 548, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 549, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 550, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 551, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 552, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 553, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 554, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 555, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 556, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 557, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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 1          In response to paragraph 558, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3          In response to paragraph 559, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5          In response to paragraph 560, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7          In response to paragraph 561, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9          In response to paragraph 562, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11          In response to paragraph 563, Defendant admits that Judge Mueller made the findings noted.

12          In response to paragraph 564, Defendant lacks sufficient information to admit or deny the

13   allegations, and on that basis, Defendant denies the allegations.

14          In response to paragraph 565, Defendant lacks sufficient information to admit or deny the

15   allegations, and on that basis, Defendant denies the allegations.

16          In response to paragraph 566, Defendant lacks sufficient information to admit or deny the

17   allegations, and on that basis, Defendant denies the allegations.

18          In response to paragraph 567, Defendant lacks sufficient information to admit or deny the

19   allegations, and on that basis, Defendant denies the allegations.

20          In response to paragraph 568, Defendant lacks sufficient information to admit or deny the

21   allegations, and on that basis, Defendant denies the allegations.

22          In response to paragraph 569, Defendant lacks sufficient information to admit or deny the

23   allegations, and on that basis, Defendant denies the allegations.

24          In response to paragraph 570, Defendant lacks sufficient information to admit or deny the

25   allegations, and on that basis, Defendant denies the allegations.
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 1           In response to paragraph 571, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 572, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 573, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis Defendant denies the allegations.

 7           In response to paragraph 574, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 575, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 576, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 577, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 578, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 579, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 580, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to footnote 23, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 581, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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 1           In response to paragraph 582, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 583, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 584, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 585, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 586, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 587, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to footnote 24, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 588, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 589, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 590, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 591, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 592, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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 1          In response to paragraph 593, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3          In response to paragraph 594, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5          In response to paragraph 595, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7          In response to paragraph 596, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9          In response to paragraph 597, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11          In response to paragraph 598, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13          In response to paragraph 599, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15          In response to paragraph 600, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17          In response to paragraph 601, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19          In response to paragraph 602, Defendant admits that William Schmitz’s autopsy report

20   shows levels of amphetamine. Defendant lacks sufficient information to admit or deny the

21   remaining allegations in paragraph 602, and on that basis, Defendant denies the allegations.

22          In response to paragraph 603, Defendant lacks sufficient information to admit or deny the

23   allegations, and on that basis, Defendant denies the allegations.

24          In response to paragraph 604, Defendant lacks sufficient information to admit or deny the

25   allegations, and on that basis, Defendant denies the allegations.
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 1           In response to paragraph 605, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 606, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 607, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 608, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 609, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 610, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 611, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 612, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 613, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 614, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 615, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 616, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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 1           In response to paragraph 617, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 618, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 619, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 620, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 621, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to footnote 25, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 622, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 623, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 624, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 625, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 626, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 627, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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                                                       55
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 1           In response to paragraph 628, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 629, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 630, Defendant admits that the findings from the OIG Report are

 6   listed as attached to the Fourth Amended Complaint as Exhibit L.

 7           In response to paragraph 631, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 632, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 633, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 634, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 635, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 636, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 637, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 638, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 639, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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 1           In response to paragraph 640, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 641, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 642, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 643, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 644, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 645, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to footnote 26, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 646, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 647, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 648, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 649, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 650, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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 1           In response to paragraph 651, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 652, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 653, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 654, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to footnote 27, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 655, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 656, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 657, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 658, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 659, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 660, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 661, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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 1           In response to paragraph 662, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 663, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 664, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 665, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 666, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 667, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 668, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 669, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 670, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 671, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 672, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 673, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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 1           In response to paragraph 674, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 675, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 676, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 677, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 678, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 679, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 680, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 681, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 682, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 683, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 684, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 685, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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 1           In response to paragraph 686, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 687, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 688, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 689, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 690, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 691, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 692, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 693, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 694, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 695, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 696, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 697, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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 1           In response to paragraph 698, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 699, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 700, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 701, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 702, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 703, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 704, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 705, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 706, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 707, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 708, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 709, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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 1           In response to paragraph 710, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 711, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 712, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 713, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 714, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 715, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 716, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 717, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 718, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 719, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 720, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 721, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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 1          In response to paragraph 722, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegation.

 3          In response to paragraph 723, Defendant denies the allegations.

 4          In response to paragraph 724, Defendant lacks sufficient information to admit or deny the

 5   allegations, and on that basis, Defendant denies the allegations.

 6          In response to paragraph 725, Defendant lacks sufficient information to admit or deny the

 7   allegations, and on that basis, Defendant denies the allegations.

 8          In response to paragraph 726, Defendant lacks sufficient information to admit or deny the

 9   allegations, and on that basis, Defendant denies the allegations.

10          In response to paragraph 727, Defendant lacks sufficient information to admit or deny the

11   allegations, and on that basis, Defendant denies the allegations.

12          In response to footnote 28, Defendant lacks sufficient information to admit or deny the

13   allegations, and on that basis, Defendant denies the allegations.

14          In response to paragraph 728, Defendant lacks sufficient information to admit or deny the

15   allegations, and on that basis, Defendant denies the allegations.

16          In response to paragraph 729, Defendant denies the allegations.

17          In response to paragraph 730, Defendant denies the allegations.

18          In response to footnote 29, Defendant denies the allegations.

19          In response to paragraph 731, Defendant denies the allegations.

20          In response to paragraph 732, Defendant denies the allegations.

21          In response to paragraph 733, Defendant admits the allegations.

22          In response to paragraph 734, Defendant admits the allegations.

23          In response to paragraph 735, Defendant denies the allegations.

24          In response to paragraph 736, Defendant denies the allegations.

25          In response to footnote 30, Defendant denies the allegations.
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 1          In response to paragraph 737, Defendant admits the allegations.

 2          In response to paragraph 738, Defendant admits the allegations.

 3          In response to paragraph 739, Defendant admits the allegations.

 4          In response to paragraph 740, Defendant admits the allegations.

 5          In response to paragraph 741 Defendant admits the allegations.

 6          In response to paragraph 742, Defendant lacks sufficient information to admit or deny the

 7   allegations, and on that basis, Defendant denies the allegations.

 8          In response to paragraph 743, Defendant denies the allegations.

 9          In response to paragraph 744, Defendant admits the allegations.

10          In response to footnote 31, Defendant lacks sufficient information to admit or deny the

11   allegations, and on that basis, Defendant denies the allegations.

12          In response to paragraph 745, Defendant lacks sufficient information to admit or deny the

13   allegations, and on that basis, Defendant denies the allegations.

14          In response to paragraph 746, Defendant lacks sufficient information to admit or deny the

15   allegations, and on that basis, Defendant denies the allegations.

16          In response to paragraph 747, Defendant lacks sufficient information to admit or deny the

17   allegations, and on that basis, Defendant denies the allegations.

18          In response to paragraph 748, Defendant lacks sufficient information to admit or deny the

19   allegations, and on that basis, Defendant denies the allegations.

20          In response to paragraph 749, Defendant lacks sufficient information to admit or deny the

21   allegations, and on that basis, Defendant denies the allegations.

22          In response to paragraph 750, Defendant lacks sufficient information to admit or deny the

23   allegations, and on that basis, Defendant denies the allegations.

24          In response to paragraph 751, Defendant lacks sufficient information to admit or deny the

25   allegations, and on that basis, Defendant denies the allegations.
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 1          In response to paragraph 752, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3          In response to paragraph 753, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5          In response to paragraph 754, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7          In response to paragraph 755, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9          In response to paragraph 756, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11          In response to paragraph 757, Defendant denies the allegations.

12          In response to paragraph 758, Defendant denies the allegations.

13          In response to paragraph 759, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15          In response to paragraph 760, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17          In response to paragraph 761, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19          In response to paragraph 762, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21          In response to paragraph 763, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23          In response to paragraph 764, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

25          In response to paragraph 765, Defendant denies the allegations.
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 1           In response to paragraph 766, Defendant denies the allegations.

 2           In response to paragraph 767, Defendant denies the allegations.

 3           In response to paragraph 768, Defendant denies the allegations.

 4           In response to paragraph 769, Defendant denies the allegations.

 5           In response to paragraph 770, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 771, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 772, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 773, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 774, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 775, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 776, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 777, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 778, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 779, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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 1           In response to paragraph 780, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 781, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 782, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 783, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 784, Defendant denies the allegations.

10           In response to footnote 32, Defendant denies the allegations.

11           In response to paragraph 785, Defendant denies the allegations.

12           In response to paragraph 786, Defendant denies the allegations.

13           In response to paragraph 787, Defendant denies the allegations.

14           In response to paragraph 788, Defendant lacks sufficient information to admit or deny the

15   allegations, and on that basis, Defendant denies the allegations.

16           In response to paragraph 789, Defendant lacks sufficient information to admit or deny the

17   allegations, and on that basis, Defendant denies the allegations.

18           In response to paragraph 790, Defendant lacks sufficient information to admit or deny the

19   allegations, and on that basis, Defendant denies the allegations.

20           In response to paragraph 791, Defendant denies the allegations.

21           In response to paragraph 792, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 793, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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 1          In response to paragraph 794, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3          In response to paragraph 795, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5          In response to paragraph 796, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7          In response to paragraph 797, Defendant denies the allegations.

 8          In response to paragraph 798, Defendant lacks sufficient information to admit or deny the

 9   allegations, and on that basis, Defendant denies the allegations.

10          In response to paragraph 799, Defendant lacks sufficient information to admit or deny the

11   allegations, and on that basis, Defendant denies the allegations.

12          In response to paragraph 800, Defendant lacks sufficient information to admit or deny the

13   allegations, and on that basis, Defendant denies the allegations.

14          In response to paragraph 801, Defendant lacks sufficient information to admit or deny the

15   allegations, and on that basis, Defendant denies the allegations.

16          In response to paragraph 802, Defendant lacks sufficient information to admit or deny the

17   allegations, and on that basis, Defendant denies the allegations.

18          In response to paragraph 803, Defendant lacks sufficient information to admit or deny the

19   allegations, and on that basis, Defendant denies the allegations.

20          In response to paragraph 804, Defendant lacks sufficient information to admit or deny the

21   allegations, and on that basis, Defendant denies the allegations.

22          In response to paragraph 805, Defendant lacks sufficient information to admit or deny the

23   allegations, and on that basis, Defendant denies the allegations.

24          In response to paragraph 806, Defendant lacks sufficient information to admit or deny the

25   allegations, and on that basis, Defendant denies the allegations.
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 1           In response to paragraph 807, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 808, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 809, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to footnote 33, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 810, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 811, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 812, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 813, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 814, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 815, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 816, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to footnote 34, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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 1           In response to paragraph 817, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3           In response to footnote 35, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 818, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 819, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 820, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 821, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 822, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 823, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17           In response to paragraph 824, Defendant lacks sufficient information to admit or deny the

18   allegations, and on that basis, Defendant denies the allegations.

19           In response to paragraph 825, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21           In response to paragraph 826, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23           In response to paragraph 827, Defendant lacks sufficient information to admit or deny the

24   allegations, and on that basis, Defendant denies the allegations.

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 1            In response to paragraph 828, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3            In response to paragraph 829, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5            In response to paragraph 830, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7            In response to paragraph 831, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9            In response to paragraph 832, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11            In response to paragraph 833, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13            In response to paragraph 834, Defendant admits that the quotation is from the introduction

14   of Judge Mueller’s Order.

15            In response to paragraph 835, Defendant lacks sufficient information to admit or deny the

16   allegations, and on that basis, Defendant denies the allegations.

17            In response to paragraph 836, Defendant admits that the cited text is from Judge Mueller’s

18   Order.

19            In response to paragraph 837, Defendant lacks sufficient information to admit or deny the

20   allegations, and on that basis, Defendant denies the allegations.

21            In response to paragraph 838, Defendant lacks sufficient information to admit or deny the

22   allegations, and on that basis, Defendant denies the allegations.

23            In response to paragraph 839, Defendant denies that the “facts are clear.” Defendant lacks

24   sufficient information to admit or deny the remaining allegations in paragraph 839, and on that

25   basis, Defendant denies the allegations.
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 1           In response to paragraph 840, Defendant reasserts his responses to paragraphs 1–839.

 2           In response to paragraph 841, Defendant denies the allegations.

 3           In response to paragraph 842, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 843, Defendant denies the allegations.

 6           In response to paragraph 844, Defendant denies the allegations.

 7           In response to paragraph 845, Defendant denies the allegations.

 8           In response to paragraph 846, Defendant reasserts his responses to paragraphs 1–845.

 9           In response to paragraph 847, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 848, Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 849, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 850, Defendant reasserts his responses to paragraphs 1–849.

16           In response to paragraph 851, Defendant lacks sufficient information to admit or deny the

17   allegations, and on that basis, Defendant denies the allegations.

18           In response to paragraph 852, Defendant lacks sufficient information to admit or deny the

19   allegations, and on that basis, Defendant denies the allegations.

20           In response to paragraph 853, Defendant reasserts his responses to paragraphs 1–852.

21           In response to paragraph 854, Defendant denies the allegations.

22           In response to paragraph 855, Defendant denies the allegations.

23           In response to paragraph 856, Defendant denies the allegations.

24           In response to paragraph 857, Defendant reasserts his responses to paragraphs 1–849.

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 1          In response to paragraph 858, Defendant lacks sufficient information to admit or deny the

 2   allegations, and on that basis, Defendant denies the allegations.

 3          In response to paragraph 859, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5          In response to paragraph 860, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7          In response to paragraph 861, Defendant reasserts his responses to paragraphs 1–860.

 8          In response to paragraph 862, Defendant admits that Exhibit A is the Declaration required

 9   by California Code of Civil Procedure §377.11. Defendant lacks sufficient information to admit or

10   deny the remaining allegations in paragraph 862, and on that basis, Defendant denies the

11   allegations.

12          In response to paragraph 863, Defendant denies that William Schmitz’s death was a direct

13   and proximate result of wrongful and/or negligent acts and/or omissions by Defendant. Defendant

14   also denies that his acts and/or omissions were also a direct and proximate cause of Plaintiffs’

15   alleged injuries and damages.      Defendant lacks sufficient information to admit or deny the

16   allegations in paragraph 863 as alleged against other Defendants, and on that basis, Defendant

17   denies the allegations.

18          In response to paragraph 864, Defendant denies that he was deliberately indifferent to

19   William Schmitz’s serious medical needs in violation of the Eighth Amendment under 42 U.S.C.

20   §1983 and denies that his alleged deliberate indifference resulted in the death of William Schmitz.

21   Defendant lacks sufficient information to admit or deny the allegations in paragraph 864 as alleged

22   against other Defendants, and on that basis, Defendant denies the allegations.

23          In response to paragraph 865, Defendant denies that he failed to comply with professional

24   standards in the care and supervision of William Schmitz during his incarceration at MCSP.

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 1   Defendant lacks sufficient information to admit or deny the allegations in paragraph 865 as alleged

 2   against other Defendants, and on that basis, Defendant denies the allegations.

 3           In response to paragraph 866, Defendant lacks sufficient information to admit or deny the

 4   allegations, and on that basis, Defendant denies the allegations.

 5           In response to paragraph 867, Defendant lacks sufficient information to admit or deny the

 6   allegations, and on that basis, Defendant denies the allegations.

 7           In response to paragraph 868, Defendant lacks sufficient information to admit or deny the

 8   allegations, and on that basis, Defendant denies the allegations.

 9           In response to paragraph 869, Defendant lacks sufficient information to admit or deny the

10   allegations, and on that basis, Defendant denies the allegations.

11           In response to paragraph 870, D Defendant lacks sufficient information to admit or deny the

12   allegations, and on that basis, Defendant denies the allegations.

13           In response to paragraph 871, Defendant lacks sufficient information to admit or deny the

14   allegations, and on that basis, Defendant denies the allegations.

15           In response to paragraph 872, Defendant denies the allegations.

16           In response to paragraph 873, Defendant lacks sufficient information to admit or deny the

17   allegations, and on that basis, Defendant denies the allegations.

18           In response to paragraph 874, Defendant lacks sufficient information to admit or deny the

19   allegations, and on that basis, Defendant denies the allegations.

20           In response to paragraph 875, Defendant denies that Plaintiffs incurred funeral and burial

21   expenses as a direct and proximate result of his wrongful and/or negligent acts and/or omissions and

22   denies he acted wrongfully or negligently. Defendant lacks sufficient information to admit or deny

23   the allegations as asserted against other Defendants, and on that basis, Defendant denies the

24   allegations.

25   ///
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 1          In response to paragraph 876, Defendant denies the allegations as asserted against him and

 2   denies that Plaintiffs are entitled to recover prejudgment interest. Defendant lacks sufficient

 3   information to admit or deny the allegations as asserted against other Defendants, and on that basis,

 4   Defendant denies the allegations.

 5          In response to paragraph 877, Defendant reasserts his responses to paragraphs 1–876.

 6          In response to paragraph 878, Defendant denies the allegations.

 7          In response to paragraph 879, Defendant denies the allegations.

 8          In response to paragraph 880, Defendant denies the allegations.

 9          In response to paragraph 881, Defendant reasserts his responses to paragraphs 1–880.

10          In response to paragraph 882, Defendant denies the allegations.

11          In response to paragraph 883, Defendant denies the allegations.

12          In response to paragraph 884, Defendant denies the allegations.

13          In response to paragraph 885, Defendant reasserts his responses to paragraphs 1–884.

14          In response to paragraph 886, Defendant denies the allegations.

15          In response to paragraph 887, Defendant denies the allegations.

16          In response to paragraph 888, Defendant denies the allegations.

17          In response to paragraph 889, Defendant reasserts his responses to paragraphs 1–888.

18          In response to paragraph 890, Defendant denies the allegations.

19          In response to paragraph 891, Defendant denies the allegations.

20          In response to paragraph 892, Defendant denies the allegations.

21          Except as previously admitted or denied based on insufficient information or knowledge,

22   Defendant denies each and every allegation in the Fourth Amended Complaint.

23         AFFIRMATIVE DEFENSES AS SEPARATE AND AFFIRMATIVE DEFENSES

24          Defendant generally and specifically denies each and every allegation and cause of action of

25   the unverified Fourth Amended Complaint for Damages pursuant to the provisions of Code of Civil
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 1   Procedure §431.30(d) and further specifically denies that Decedent and Plaintiffs have been

 2   damaged in the manner or amount alleged or in any other manner of amount due to any wrongful

 3   act by or attributable to this answering Defendant. Defendant alleges as follows:

 4          1.      The damages Decedent and Plaintiffs claim to have suffered were caused or made

 5   worse by events that occurred after the allegations described in the Fourth Amended Complaint.

 6   Any losses, damages, and injuries were proximately caused by unforeseeable, independent,

 7   intervening, and superseding events that were beyond Defendant’s control.

 8          2.      Decedent was contributorily negligent and comparatively at fault for any damages

 9   because he ingested a controlled substance and attempted to remove the controlled substance from

10   his body by himself.

11          3.      Decedent and Plaintiffs’ conduct contributed to Plaintiffs’ damages, if any.

12   Decedent, Plaintiffs, and/or other persons or entities who are not parties to this action did not

13   exercise ordinary care, caution, and prudence in connection with the transactions and events alleged

14   within the Fourth Amended Complaint, and Decedent and Plaintiffs are therefore barred entirely

15   from recovery against Defendant or, alternatively, Plaintiffs should have the recovery, if any,

16   proportionately reduced.

17          Plaintiffs have not suffered any injury due to Defendant’s conduct, actions, or omissions. To

18   the extent Plaintiffs suffered any injury or damage, such injury or damage were the result of

19   Decedent and Plaintiffs’ own negligence and deliberate actions and are thereby precluded from

20   seeking the relief requested.

21          4.      Defendant alleges that at the time and place of the allegations in question, Decedent

22   himself was guilty of carelessness and negligence in and about the matters and things complained of

23   and that said carelessness and negligence on Decedent’s own part proximately caused and

24   contributed to the happening of the allegations in question and the resultant alleged injuries and

25   damages to Decedent and Plaintiffs, if any.
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 1          5.       Defendant alleges that at the time and place of the allegations contained within the

 2   Fourth Amended Complaint, Decedent himself was the sole proximate cause of the allegations in

 3   question and the resultant alleged injuries and damages to Decedent and Plaintiffs, if any.

 4          6.       Decedent primarily assumed the risk of an inherently dangerous activity by ingesting

 5   bindles of a controlled substance and attempting to remove the controlled substance from his body

 6   by himself.

 7          7.       Decedent and Plaintiffs freely and voluntarily assumed the risk of injury and damage

 8   alleged in the Fourth Amended Complaint with full knowledge and was a proximate cause of the

 9   alleged damages, if any, sustained.

10          8.       The incident, damages, and injuries alleged by Plaintiffs occurred, resulted, and were

11   caused by the natural course of a disease or condition or were the natural or expected results of

12   reasonable treatment rendered for the disease or condition, and, therefore, Defendant is not liable

13   pursuant to Civil Code §1714.8(a).

14          9.       Decedent and Plaintiffs failed to mitigate or attempt to mitigate damages by the

15   exercise of reasonable effort, if in fact any damages have been or will be sustained, and any

16   recovery by Plaintiffs must be diminished or barred by reason thereof.

17          10.      Defendant denies the creation or existence of actual or ostensible agency with any of

18   the Co-Defendants and is not vicariously liable for the negligence, if any, of other parties to the

19   action under California Civil Code, Title 9, Chapter 1.

20          11.      Plaintiffs may not recover damages for their wrongful-death claim based on grief or

21   sorrow.

22          12.      The Fourth Amended Complaint does not state facts sufficient to constitute a cause

23   of action for prejudgment interest against Defendant.

24          13.      Defendant invokes the protection provided by Civil Code §1431.2 regarding several

25   liability for non-economic damages.
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 1           14.     Defendant may elect to have future damages, if any, paid in whole or in part, as

 2   specified in Code of Civil Procedure §667.7.

 3           15.     Pursuant to Proposition 51, Defendant asserts that his responsibility, if any, and/or

 4   liability, if any, as to non-economic damages, if any, shall be limited to the percentage of fault

 5   attributable, if any, to Defendant and a separate judgment be so rendered.

 6           16.     Defendant reserves the right to introduce evidence of any amounts paid or to be paid

 7   as a benefit pursuant to Civil Code §3333.1 and invoke the protection of Civil Code §3333.2.

 8           17.     Decedent and Plaintiffs’ injuries or damages, if any, were directly or proximately

 9   caused by the intentional or negligent actions or omissions of persons other than Defendant. The

10   conduct of these third parties were intervening and superseding causes which Defendant could not

11   have reasonably foreseen nor of which he had any control over.

12           18.     To the extent that Decedent had any surviving issue, whether known or unknown to

13   Plaintiffs, Plaintiffs lack standing to bring the wrongful death claim.

14           19.     Decedent and Plaintiffs consented to and approved all the acts and omissions about

15   which Plaintiffs now complain. Accordingly, Plaintiffs are barred from pursuing this action.

16           20.     Decedent and Plaintiffs have failed to exhaust administrative remedies against

17   Defendant because Plaintiffs and Decedent failed to timely file grievances. Plaintiffs’ claims are,

18   therefore, barred by 42 U.S.C. §1997e.

19           21.     The causes of action alleged in the Fourth Amended Complaint are barred by the

20   statutes of limitation prescribed by Code of Civil Procedure §340.5 and notice requirements

21   specified in Code of Civil Procedure §364. Defendant hereby demands a separate trial of this

22   defense in accordance with Code of Civil Procedure §597.5.

23           22.     The causes of action alleged in the Fourth Amended Complaint are barred because

24   Defendant’s conduct was privileged and/or justified.

25   ///
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 1           23.     Plaintiffs’ Fourth Amended Complaint and the relief sought therein is barred in

 2   whole or in part by the legal and equitable doctrines of waiver, estoppel, unclean hands and laches.

 3           24.     The causes of action alleged in the Fourth Amended Complaint are barred because

 4   Defendant’s conduct was privileged and/or justified.

 5           25.     The Fourth Amended Complaint, and each purported cause of action contained

 6   therein, fails to allege facts sufficient to state a cause of action against Defendant. The Fourth

 7   Amended Complaint does not contain sufficient facts sufficient factual matter, accepted as true, to

 8   “state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

 9   (citing Bell Atlantic v. Twombley, 550 U.S. 544, 570 (2007)). Plaintiffs fail to allege Defendant

10   breached a duty to Decedent or that any breach of duty proximately caused Decedent’s death and/or

11   Plaintiffs’ injuries. Quiroz v. Seventh Ave. Cntr., 140 Cal.App.4th 1256, 1263 (2006) (internal

12   citation omitted); Vasilenko v. Grace Family Church, 3 Cal.5th 1077, 1083 (2017).

13           26.     Defendant cannot fully anticipate all affirmative defenses that may be applicable to

14   this action based upon the conclusory terms used in the Fourth Amended Complaint. Accordingly,

15   Defendant expressly reserves the right to assert additional defenses if and to the extent that such

16   affirmative defenses become applicable.

17                                     DEMAND FOR JURY TRIAL

18           Under Federal Rule of Civil Procedure 38 and Civil Local Rule 201, Defendant demands a

19   jury trial on all issues presented in the Fourth Amended Complaint that are triable by a jury.

20           WHEREFORE, Defendant pray that the Court provide the following relief:

21           1.      Plaintiffs take nothing by the Fourth Amended Complaint and judgment be rendered

22   in favor of Defendant against Plaintiffs;

23           2.      Defendant be awarded attorney’s fees;

24           3.      Defendant be awarded costs of suit incurred in defense of this action; and

25   ///
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                   FIRST AMENDED ANSWER TO FOURTH AMENDED COMPLAINT AND DEMAND FOR JURY
         Case 2:20-cv-00195-DJC-CKD Document 217 Filed 09/15/22 Page 81 of 83


 1          4.      Defendant be awarded such other and further relief as the Court may deem

 2   necessary.

 3   Dated: September 15, 2022          LOW McKINLEY & SALENKO, LLP

 4

 5                                      By_____________________________
                                              BRUCE E. SALENKO
 6                                            Attorneys for Defendant Stephen Denigris, M.D., Ph.D.

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                  FIRST AMENDED ANSWER TO FOURTH AMENDED COMPLAINT AND DEMAND FOR JURY
            Case 2:20-cv-00195-DJC-CKD Document 217 Filed 09/15/22 Page 82 of 83


 1   Case Name:        Schmitz v. DeNigris, et al.
     Case No.:         2:20-cv-000195-DAD-CKD
 2

 3                                          PROOF OF SERVICE
                                         (CCP 1013; CRC 3.1300, 10.503)
 4

 5              I, DeeAnne L. Bagley, declare:

 6              I am over the age of eighteen years and not a party to the within cause; am employed in the

 7   County of Sacramento, California; and my business address is 2150 River Plaza Dr., Ste. 250,

 8   Sacramento, CA 95833.

 9              On September 15, 2022, I served the within FIRST AMENDED ANSWER TO FOURTH

10   AMENDED COMPLAINT AND DEMAND FOR JURY, which was produced on recycled

11   paper, on the parties in said cause by:

12         XX      BY MAIL: I placed the envelope for collection and mailing, following our ordinary
                   business practices. I am readily familiar with this business’ practice for collecting and
13                 processing correspondence for mailing. On the same day that correspondence is placed
                   for collection and mailing, it is deposited in the ordinary course of business with the
14                 United States Postal Service, in a sealed envelope with postage fully prepaid.

15
           XX      BY ELECTRONIC SERVICE: Based on a court order or an agreement of the parties
                   to accept service by e-mail or electronic transmission, I caused the documents to be sent
16
                   to the persons at the e-mail addresses listed below. No electronic message or other
                   indication that the transmission was unsuccessful was received within a reasonable time
17
                   after the transmission.
18

19   VIA MAIL AND E-SERVICE

20   Thomas J. Schmitz
     404 Atkinson St.
21   Roseville, CA 95678
     Phone: (707) 694-8158
22   Email: tsfoot49@gmail.com
     Counsel for Plaintiff Pro Se
23

24   ///

25   ///
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                                                  PROOF OF SERVICE
         Case 2:20-cv-00195-DJC-CKD Document 217 Filed 09/15/22 Page 83 of 83


 1   Dianne Mallia
     404 Atkinson St.
 2   Roseville, CA 95678
     Phone: (707) 694-8158
 3   Email: deedamallia@gmail.com
     Counsel for Plaintiff Pro Se
 4

 5          I declare under penalty of perjury under the laws of the State of California that the foregoing

 6   is true and correct, and that this declaration was executed on September 15, 2022, at Sacramento,

 7   California.

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                                          _________________________________________
 9                                           DeeAnne L. Bagley

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                                              PROOF OF SERVICE
